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 C. Nathan Dee, Esq.
 Elizabeth M. Aboulafia, Esq.

 Counsel to Navillus Tile, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
                                                                  :
In re:                                                            : Chapter 11
                                                                  :
NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
CONTRACTING                                                       :
                                                                  :
                            Debtor.                               :
                                                                  :
------------------------------------------------------------------x

                    NOTICE OF PROPOSED AGENDA OF MATTERS
              SCHEDULED FOR HEARING ON OCTOBER 10, 2018 AT 11:00 A.M.

 Date and Time:          October 10, 2018 at 11:00 a.m. (Prevailing Eastern Time)

 Location of Hearing: United States Bankruptcy Court for the
                      Southern District of New York
                      The Honorable Sean H. Lane
                      One Bowling Green
                      Courtroom 701
                      New York, New York 10004-1408

         I.      UNCONTESTED MATTERS

         1. Amended Disclosure Statement With Respect to Consensual Amended Chapter 11
            Plan of Reorganization of Navillus Tile, Inc. d/b/a Navillus Contracting Under
            Chapter 11 of the Bankruptcy Code [Docket No. 602]

                 Related Documents:

                 A.      Motion for Entry of an Order (I) Conditionally Approving Disclosure
                         Statement; (II) Scheduling Combined hearing; (III) Establishing a Voting
                         Record Date; (IV) Approving Solicitation Packages and Procedures for
                         Distribution Thereof; (V) Approving the Official Committee of Unsecured
                         Creditors Solicitation Letter in Support of Confirmation of the Plan; (VI)
                         Approving the Form of Ballot and Establishing Procedures for Voting on
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                      the Plan; (VII) Approving the Form of Notice to Non-Voting Classes
                      Under the Plan; (VIII) Approving the Form of Notice of the Combined
                      hearing; (IX) Establishing Notice and Objection Procedures for
                      Confirmation of the Plan; (X) Setting Related Deadlines; and (XI)
                      Authorizing the Filing of Omnibus Assumption Motion [Docket No. 589]

               B.     Order (I) Conditionally Approving Disclosure Statement; (II) Scheduling
                      Combined hearing; (III) Establishing a Voting Record Date; (IV)
                      Approving Solicitation Packages and Procedures for Distribution Thereof;
                      (V) Approving the Official Committee of Unsecured Creditors Solicitation
                      Letter in Support of Confirmation of the Plan; (VI) Approving the Form of
                      Ballot and Establishing Procedures for Voting on the Plan; (VII)
                      Approving the Form of Notice to Non-Voting Classes Under the Plan;
                      (VIII) Approving the Form of Notice of the Combined hearing; (IX)
                      Establishing Notice and Objection Procedures for Confirmation of the
                      Plan; (X) Setting Related Deadlines;(XI) Authorizing the Filing of
                      Omnibus Assumption Motion; And (XII) Allowing Union Parties Cure
                      Claims For Voting Purposes [Docket No. 607]

               C.     Notice of Filing Exhibit to Amended Disclosure Statement [Docket No.
                      670]

               STATUS: Hearing on this matter will go forward.

      II.      CONTESTED MATTERS

      1. Consensual Amended Chapter 11 Plan of Reorganization of Navillus Tile, Inc. d/b/a
         Navillus Contracting Under Chapter 11 of the Bankruptcy Code [Docket No. 603]

               Related Responses:

               A. Objection to Confirmation of Amended Plan of Reorganization of Navillus
                  Tile, Inc. d/b/a Navillus Contracting Under Chapter 11 of the Bankruptcy
                  Code filed by Hunter Roberts Construction Group LLC [Docket No. 668]

               B. Reply to Motion Limited Objection filed by Hunter Roberts Construction
                  Group LLC [Docket No. 676]

               Other Related Documents:

               C. Notice of Navillus’ Intent to Reject Certain Executory Contracts and
                  Unexpired Leases with Navillus [Docket No. 639]

               D. Notice of (I) Navillus’ Intent to Assume Certain Executory Contracts and
                  Unexpired Leases and (II) Cure Amounts Related Thereto [Docket No. 640]

               E. Plan Supplement for Consensual Amended Chapter 11 Plan of Reorganization
                  of Navillus Tile, Inc. d/b/a Navillus Contracting Under Chapter 11 of the
                  Bankruptcy Code [Docket No. 643]

               F. Amended Plan Supplement for Consensual Amended Chapter 11 Plan of
                  Reorganization of Navillus Tile, Inc. d/b/a Navillus Contracting Under


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                  Chapter 11 of the Bankruptcy Code [Docket No. 661]

               G. Certification of Ballots of Garden City Group, LLC [Docket No. 666]

               H. Declaration of Christopher K. Wu in Support of Consensual Amended
                  Chapter 11 Plan of Reorganization of Navillus Tile, Inc. d/b/a Navillus
                  Contracting Under Chapter 11 of the Bankruptcy Code [Docket No. 671]

               I. Declaration of William E. Fischer in Support of Consensual Amended
                  Chapter 11 Plan of Reorganization of Navillus Tile, Inc. d/b/a Navillus
                  Contracting Under Chapter 11 of the Bankruptcy Code [Docket. No. 672]

               J. Notice of Proposed Order Confirming Consensual Amended Chapter 11 Plan
                  of Reorganization of Navillus Tile, Inc. d/b/a Navillus Contracting Under
                  Chapter 11 of the Bankruptcy Code [Docket No. 673]

               K. Amended Declaration of William E. Fischer in Support of Consensual
                  Amended Chapter 11 Plan of Reorganization of Navillus Tile, Inc. d/b/a
                  Navillus Contracting Under Chapter 11 of the Bankruptcy Code [Docket No.
                  675]

               L. Memorandum of Law in Support of Consensual Amended Chapter 11 Plan of
                  Reorganization of Navillus Tile, Inc. d/b/a Navillus Contracting Under
                  Chapter 11 of the Bankruptcy Code [Docket No. 677]

               STATUS: Hearing on this matter will go forward.

      III.     ADJOURNED MATTERS

      1. Omnibus Motion to Assume Leases or Executory Contracts [Docket No. 618]

               STATUS: Hearing on this matter with respect to contract no. 67 has been
               adjourned to October 24, 2018 at 11:00 a.m.

      2. Objection and Reservation of Rights of JRM Construction Management, LLC
         [Docket No. 662]

               STATUS: Hearing on this matter has been adjourned to October 24, 2018 at 11:00
               a.m.

Dated: Garden City, New York
       October 8, 2018                            CULLEN AND DYKMAN LLP

                                                  By: s/ Elizabeth M. Aboulafia
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